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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS
                                                                                     F I LE i
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                                        I              )                                DEC 11 2020
                                                                                    111,10TWOBRIEN   c~,: ·
                                                       )                           By        1~      D~;

      (Enter above the full name ofPlaintiff(s))       )
                                                       )
vs.                                                    )
                                                       )
                                                       )                   20-2629
                                                              Case Number: - -------
Name                                                   )                (To be assigned by Clerk)
                                                       )
                                                       )
Street and number                                      )
                                                       )
                LuA          q~rob- lftab
                State        Zjp Code                  )

(Enter above the full name and address of
Defendant in this action - list the name and address
of any additional Defendants on the back side of
this sheet.)

                     EMPLOYMENT DISCRIMINATION COMPLAINT

1.      This employment discrimination lawsuit is based on (check only those that apply):

        0       Title VII offue Civil Rights Act of1964, as amended, 42 U.S.C. §§2000e, et seq.,
                for employment discrimination on the basis of race, color, religion, gender, or
                national ·origin.
                NOTE: In order to bring suit in federal district court under Title VII, you mustfirst
                obtain a right-to-sue letter from the Equal Employment Opportunity Commission.

        0       Age Disctimination in Employment Act of 1967, as amended, 29 U$.C. §§ 6'.21, et
                seq., for employment discrimination on the basis of age (age 40 o:t older).
                NOTE: In order to bring suitin/ederal district court under the Age Discrimination
                in Employment Act, you must first file charges with the Equal Employment
                Opportunity Commission.

        0       American with Disabilities Act of 1990, as amended, 42 U.S;C. §§ 12101, et seq.,
                for employment discrimination on the basis of disability.
                NOTE: In order to bring suit in federal district court under the American with

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 JS 44 Reveise (Rev. 08/16)

                      INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM .JS 44
                                                                  Autholity For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)      Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
           only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
           then the official, giving both name and title.
     (b)   County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
           time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
           condemnation cases, the county ofresidence of the "defendant" is the location of the tract ofland involved.)
  {c)      Attorneys. Enter the firm name, address, telephone number, and attorney ofrecord. If there are several attorneys, list them on an attachment, noting
           in this section "(see attachment)".

Il.        Jurisdiction. The basis ofjurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
           in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
           United States plaintiff. (I) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
           United States defendant (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
           Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
           to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
           precedence, and box I or 2 should be marked.
           Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
           citizenship of the different parties must be checked. (See Section TII below; NOTE: federal question actions take precedence over diversity
           cases.)

Ill.       Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
           section for each principal party.

IV.        Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
           that is most applicable. Click here for: Natw-e of Suit Code Descriptions.


V.         Origin. Place an "X" in one of the seven boxes.
           Original Proceedings. (!) Cases which originate in the United States district courts.
           Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
           When the petition for removal is granted, check this box.
           Remanded from Appellate Court, (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
           date.
           Reinstated or Reopened. (4) Check this box for cases reinstated ot reopened in the district court. Use the reopening date as the filing date.
           Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
           multidistrict litigation transfers.
           Multidistrict Litigation-Transfer. (6) Check this box when a multidlstrict case is transferred into the district under authority of Title 28 U.S.C.
           Section 1407.
           Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
           PLEASE NOTE THAT THERE IS NOT AN OIUGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
           changes in statue.

VI.        Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
           statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VIL        Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.CV.P ..
           Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
           Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

vm.        Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
           numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
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               Disabilities Act, you must first obtain a right-to-sue letter from the Equal
               Employment Opportunity Commission.

       I I     Other (Describe)




2.    If you are claiming that the discriminatory conduct occurred at a different location than the
      address provided for Defendant, please provide the following information:

      ~q,J.5      a.L'U<...rL>('4<2      kv uO--!A,$~ Cc o/ 1 /..ls
      (Street Address) (City/County) (State) (Zip Code)
                                                                                       6 6 lQcJ.,     /


3.    When did the discrimination occur? Please give the date or time period:

      -~~e~<~~-~4~q~k~h~~~~D~~~o~/~s~~~f~·.~:t{~f~~l~~-h~~Mx!O
                            ADMINISTRATIVE PROCEDURES

4.     Did you file a charge of discrimination against Defendant(s) with the Kansas State
      .Division of Human Rights or the Kansas State Commission on Human Rights?

       L_J Yes        Date filed:
                                    ------------
       l)d   No

5.    Did you file a charge of discrimination against Defendant(s) with the Equal Employment
      Opportunity Commission or other federal agency?

                      Date filed:   0    6   p f-;       l[   I   ~Oc{)Q

6.    ~ you r.eceived a Notice of Right-to-Sue Letter?
      ~Yes DNo                            ·
      If yes, please attach a copy of the letter to this complaint.

7.    If you are claiming age discrimination, check one of the following:

      c=l. 60 days or more have passed since I filed my charge of age discrimination with the
      lEgu ll Employment Opportunity Commission.
      _ _ fewer than 60 days have passed since I filed my charge of age discrimination with

                                                 2
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         the Equal Employment Opportunity Commission

                                  NATURE OF THE CASE
8.       The conduct complained ofin this lawsuit involves (check only those that apply):
         D failure to hire me
         I I termination ofmy employment
         D failure to promote me
         D failure to accommodate my disability
         D terms and conditions of my employment differ from those of similar employees
         D retaliation
         D harassment
         I I reduction in wages
         ~ other conduct (specify):




        Did you complain about this same conduct in your charge of discrimination?

         _@_Yes        _O_No
9.      I believe that I was discriminated against because of(check all that apply):

         ~    my race or color. which is _ _ _ _ _ __
         D my religion, which is _ _ _ _ _ _ _ _ _ __
         D my national origin, which is
         D     my gender, which is D m-al:-e-;-   •'"""'-
                                                        ----=-fe_m_a--=l-e_ _ __
         D   - my disability or perceived disability, which is _ _ _ _ _ _ _ _ _ __
         D     my age (my birth year is: _ _ _ _ _ _ _ _ _           _j



         D     other: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

        Dmou state the same reason(s) in your charge of discrimination?
           Yes      _D_No
10.     State here, as briefly and clearly as possible, the essential facts of your claim. Describe
        specifically the conduct that you believe is discriminatory and describe how each
        defendant is involved in the conduct. Take time to organize your stateme~t; you may use
        numbered paragraphs if you find it helpful. It is not necessary to make legal arguments, or
        to cite cases or statutes.




                                                 3
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 11.     The acts set forth in paragraph 10 of this complaint:
         _D._ are still being committed by Defendant.
        J::L    .are no .!ong. er ~eing co~tted by Defendant.
         J52;l_ may still be bemg comnntted by Defendant.
 12.                                            Plaintiff:
          [m. still works for Defendant
          I i no longer works for Defendant or was not hired
 13.    Ifthis is a disability-related claim, did Defendant deny a request for a reasonable
        accom1nodatio11? ·
        _D_Yes            D     No


        Explain: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~ - - - - - -




                                     REQUEST FOR RELIEF

  As relief from the allegations of discrimination as stated above, Plaintiff prays that the court grant
  the follojinJ r.elieftoPlain.t~: (ch.eckany and all.t.~a:apply)
                        Defendant be directed to employ Plamtiff
.         ----,;=I'-iii-Defendant be djreded to re-employ Plaintiff

              0 Defendant be directed to promote Plaintiff                ./               .n  l · -~ _r-r-
              [SZJ Defendant be directed to                  p~11
                                                     C.o ,-v\...    f5 c,,Ll;e_ i--lA~      v-" c2.L.l )It_ ~L~+- ~
                                                   - - - - - -------------
                                                   4
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            D        Injunctive relief (please explain):                                                   t 1.
            ISZJ     Monetary damages (please explain):               L,
                                                                   u lue.,,             c:>:t    XC c ~           ci1:: Ot..,lUIJi'l-1-, r
            r::x:I   Costs and fees involved :in litigating this case                            1                       {:)        fA_,,~'11
            00       As additional relief to make Plaintiff whole, Plaintiff                                                   (µ    ~ ~V
seeks:       Ji. q,       I
                              OC>O , 6 0£2
                                    I




and such other relief as may be appropriate, including attorney's fees, if applicable.



Signed this __l_L_ day of               1'2),e_,c,,-e. . .AILfu~       , 20~
                                ~~~~W\N~~
                                                                   Signature of Plaintiff              /
                                                                       ~Ur'\                    t)..        /0 kU,5(5H1
                                                                   Name (Print or Type)                /
                                                                      lo- S l        .A.)   J   Jct__HA € t=
                                                                   Address
                                                                    tLcAYL~<Po C,                    ·o// u~             b '2..to!J_
                                                                   City State Zip Code
                                                                     CJ/J 3--- &""1 I ---- r!J- lc!L(
                                                                   Telephone Number

                                  DESIGNATION OF PLACE OF TRIAL

Plaintiff designates { QWichita. [S2]Kansas City, Qropeka}, Kansas as the location for the trial in
                             (Select One Location)
this matter.
                                                                     ~u&({.fl~
                                                                   Signature of Plaintiff              /
                                        REQUEST FOR TRIAL BY JURY

Plaintiff requests trial by jury. il_Yes       _@_No
                                     (Select One)                    /°"'- ./.,,.~
                                                                   Si~~
Dated:   /cb- Ii l       )~Q(lc}
(Rev. 10111)         /

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